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                   UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF WEST VIRGINIA
Cheryl Dean Riley          OFFICE OF THE CLERK OF COURT          Michelle Widmer-Eby
Clerk of Court                  POST OFFICE BOX 471                Chief Deputy Clerk
                           WHEELING, WEST VIRGINIA 26003
                                   (304) 232-0011
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                             December 30, 2021

Via CM/ECF
Michael Hunt
c/o Jennifer S. Wagner
Mountain State Justice, Inc.
1029 University Ave., Ste. 101
Morgantown, WV 26505
and
Lydia C Milnes
Mountain State Justice, Inc.
325 Willey Street
Morgantown, WV 26505

Via CM/ECF
Wells Fargo Bank, N.A.
doing business as
Wells Fargo Home Mortgage, Inc.
c/o James H. Burns
Nelson Mullins Riley & Searborough, LLP
1320 Main Street
17th Floor
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and
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500 West Pike Street, Room 301         P.O. Box 1518    217 W. King Street, Room 102
Clarksburg, WV 26302                 Elkins, WV 26241         Martinsburg, WV 25401
(304) 622-8513                        (304) 636-1445                  (304) 267-8225
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              Re:     Hunt v. Wells Fargo N.A.
                      Civil Action No. 2:17-cv-00138

Dear Michael Hunt and Wells Fargo Bank, N.A.,

         I have been contacted by District Court Judge, Thomas S. Kleeh, who presided
over the above-mentioned case. Judge Kleeh informed me that he has learned that while
he presided over the case, his retirement fund contained stock in Wells Fargo, a party to
this litigation. This stock ownership neither affected nor impacted his decisions in this
case, which was transferred to Judge Kleeh on February 1, 2019, and dismissed on June
3, 2019. Judge Kleeh did not enter any substantive orders while he presided over this
case. However, this stock ownership would have required recusal under the Code of
Conduct for United States Judges, and thus, Judge Kleeh directed that I notify the parties
of this conflict.

              Advisory Opinion 71, from the Judicial Conference Codes of
              Conduct Committee, provides the following guidance for
              addressing disqualification that is not discovered until after a judge
              has participated in a case:

              [A] judge should disclose to the parties the facts bearing on
              disqualification as soon as those facts are learned, even though that
              may occur after entry of the decision. The parties may then
              determine what relief they may seek and a court (without the
              disqualified judge) will decide the legal consequence, if any, arising
              from the participation of the disqualified judge in the entered
              decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of
Appeals oral argument, the Committee explained “[s]imilar considerations would apply
when a judgment was entered in a district court by a judge and it is later learned that the
judge was disqualified.” With Advisory Opinion 71 in mind, you are invited to respond
to Judge Kleeh’s disclosure of a conflict in this case.




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       Should you wish to respond, please submit your response in writing by filing it
on the docket of this case on or before January 14, 2022. Any response will be considered
by another judge of this court without the participation of Judge Kleeh.

                             Sincerely,




                             Cheryl Dean Riley,
                             Clerk
                             Cl k off Court
                                      C   t




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